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    1   Marc M. Seltzer (54534)                   Howard Langer (Pro Hac Vice)
        mseltzer@susmangodfrey.com                hlanger@langergrogan.com
    2   SUSMAN GODFREY L.L.P.                     LANGER GROGAN AND DIVER PC
        1900 Avenue of the Stars, Suite 1400      1717 Arch Street, Suite 4020
    3   Los Angeles, CA 90067-6029                Philadelphia, PA 19103
        Phone: (310) 789-3100                     Tel: (215) 320-5660
    4   Fax: (310) 789-3150                       Fax: (215) 320-5703
    5   Scott Martin (Pro Hac Vice)
        smartin@hausfeld.com
    6   HAUSFELD LLP
        33 Whitehall Street, 14th Floor
    7   New York, NY 10004
        Tel: (646) 357-1100
    8   Fax: (212) 202-4322
    9
        [Additional Counsel on Signature Page]
   10
        Plaintiffs’ Co-Lead Counsel
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   12
                            UNITED STATES DISTRICT COURT
   13
                          CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No. 2:15-ml-02668-PSG (JEMx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
   17   THIS DOCUMENT RELATES TO                 PLAINTIFFS’ APPLICATION
        ALL ACTIONS                              UNDER LOCAL RULE 79-5 TO
   18                                            FILE DOCUMENTS UNDER SEAL
   19                                          JUDGE: Hon. Philip S. Gutierrez
                                               DATE: January 27, 2023
   20                                          TIME: 1:30 p.m.
                                               COURTROOM: First Street Courthouse
   21                                                     350 West 1st Street
                                                          Courtroom 6A
   22                                                      Los Angeles, CA 90012
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    1         TO THE ABOVE-CAPTIONED COURT AND TO DEFENDANTS AND
    2   THEIR COUNSEL OF RECORD:
    3         PLEASE TAKE NOTICE that pursuant to Local Rule 79-5.2.2(b), Plaintiffs,
    4   by and through their counsel of record, hereby submit this application requesting the
    5   Court lodge provisionally under seal the following documents (lodged concurrently
    6   herewith):
    7      1. The sealed Declaration of Scott Martin in Support of Plaintiffs’ Application to
    8         File Documents Under Seal;
    9      2. The unredacted version of Plaintiffs’ Memorandum in Support of Plaintiffs’
   10         Motion to Exclude the Opinions of Mark A. Israel;
   11      3. The unredacted versions of Exhibits 1, 2, 3, 4, and 5 to the Declaration of Scott
   12         Martin in Support of Plaintiffs’ Memorandum in Support of Plaintiffs’ Motion
   13         to Exclude the Opinions of Mark A. Israel.
   14

   15   The redacted information reference or contain materials designated as
   16   CONFIDENTIAL or HIGHLY CONFIDENTIAL pursuant to the protective order in
   17   this matter.
   18

   19
           Dated: December 2, 2022                     Respectfully submitted,
   20
   21                                          By:     /s/ Marc M. Seltzer
   22                                                  Marc M. Seltzer
   23                                                 Marc M. Seltzer (54534)
                                                      mseltzer@susmangodfrey.com
   24                                                 SUSMAN GODFREY L.L.P.
                                                      1900 Avenue of the Stars, Suite 1400
   25                                                 Los Angeles, CA 90067
                                                      Tel: (310) 789-3100
   26                                                 Fax: (310) 789-3150
   27                                                 Arun Subramanian (Pro Hac Vice)
                                                      asubramanian@susmangodfrey.com
   28                                                 William C. Carmody (Pro Hac Vice)
                                                      bcarmody@susmangodfrey.com
                                                  1
Case 2:15-ml-02668-PSG-SK Document 744 Filed 12/02/22 Page 3 of 4 Page ID #:21800


                                                 Seth Ard (Pro Hac Vice)
    1                                            sard@susmangodfrey.com
                                                 Tyler Finn (Pro Hac Vice)
    2                                            tfinn@susmangodfrey.com
                                                 SUSMAN GODFREY L.L.P
    3                                            1301 Avenue of the Americas, 32nd Fl.
                                                 New York, NY 10019
    4                                            Tel: (212) 336-8330
                                                 Fax: (212) 336-8340
    5
                                                 Ian M. Gore (Pro Hac Vice)
    6                                            igore@susmangodfrey.com
                                                 SUSMAN GODFREY L.L.P.
    7                                            1201 Third Avenue, Suite 3800
                                                 Seattle, WA 98101
    8                                            Tel: (206) 505-3841
                                                 Fax: (206) 516-3883
    9
                                                 Armstead Lewis (Pro Hac Vice)
   10                                            alewis@susmangodfrey.com
                                                 SUSMAN GODFREY L.L.P.
   11                                            1000 Louisiana, Suite 5100
                                                 Houston, TX 77002
   12                                            Tel: (713) 651-9366
                                                 Fax: (713) 654-6666
   13
                                                 Scott Martin (Pro Hac Vice)
   14                                            smartin@hausfeld.com
                                                 HAUSFELD LLP
   15                                            33 Whitehall Street, 14th Floor
                                                 New York, NY 10004
   16                                            Tel: (646) 357-1100
                                                 Fax: (212) 202-4322
   17
                                                 Christopher L. Lebsock (184546)
   18                                            clebsock@hausfeld.com
                                                 Samuel Maida
   19                                            smaida@hausfeld.com
                                                 HAUSFELD LLP
   20                                            600 Montgomery St., Suite 3200
                                                 San Francisco, CA 94111
   21                                            Tel: (415) 633-1908
                                                 Fax: (415) 633-4980
   22
                                                 Sathya S. Gosselin (269171)
   23                                            sgosselin@hausfeld.com
                                                 Farhad Mirzadeh (Pro Hac Vice)
   24                                            fmirzadeh@hausfeld.com
                                                 HAUSFELD LLP
   25                                            888 16th Street, N.W., Suite 300
                                                 Washington, DC 20006
   26                                            Tel: (202) 540-7200
                                                 Fax: (202) 540-7201
   27
                                                 Howard Langer (Pro Hac Vice)
   28                                            hlanger@langergrogan.com
                                             2
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    1
                                                 Edward Diver (Pro Hac Vice)
                                                 ndiver@langergrogan.com
    2                                            Peter Leckman (235721)
                                                 pleckman@langergrogan.com
    3                                            Kevin Trainer (Pro Hac Vice)
                                                 ktrainer@langergrogan.com
    4                                            LANGER GROGAN AND DIVER PC
                                                 1717 Arch Street, Suite 4020
    5                                            Philadelphia, PA 19103
                                                 Tel: (215) 320-5660
    6                                            Fax: (215) 320-5703

    7                                            Plaintiffs’ Co-Lead Counsel
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